         Case 3:18-md-02843-VC Document 873-6 Filed 03/12/22 Page 1 of 1




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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      JOINT DECLARATION OF DEREK W.
                                               LOESER AND LESLEY E. WEAVER IN
ALL ACTIONS                                    SUPPORT OF PLAINTIFFS’ NOTICE OF
                                               MOTION, MOTION, AND
                                               MEMORANDUM IN SUPPORT OF
                                               MOTION FOR SANCTIONS AND
                                               EXHIBITS 1 TO 55 THERETO

                                               Judge: Hon. Vince Chhabra
                                               Hon. Jacqueline Scott Corley
                                               Special Master Daniel Garrie
                                               Courtroom: 4, 17th Floor
                                               Hearing Date: May 5, 2022
                                               Hearing Time: 10:00 a.m.




                                REDACTED IN ITS ENTIRETY




DECL. IN SUPP. OF PLAINTIFFS’                                                   MDL NO. 2843
MOTION FOR SANCTIONS                                                 CASE NO. 18-MD-02843-VC
